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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

JEFFREY DUCK,

                      Plaintiff,

v.                                                           Case No: 6:14-cv-94-Orl-36GJK

ANSWER FINANCIAL, INC.,

                  Defendant.
___________________________________/

                                           ORDER

        Before the Court is the Notice of Voluntary Dismissal With Prejudice (Doc. 7). In accord

with the Notice of Voluntary Dismissal With Prejudice, it is ORDERED AND ADJUDGED as

follows:

        1)     The Notice of Voluntary Dismissal With Prejudice is APPROVED (Doc. 7).

        2)     This cause is dismissed, with prejudice.

        3)     The Clerk is directed to terminate any pending motions and deadlines and CLOSE

this case.

        DONE AND ORDERED in Orlando, Florida on March 5, 2014.




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Counsel of Record
